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 9     Plaintiffs’ Co-Lead Counsel
10                                UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA

12     IN RE: SOCIAL MEDIA ADOLESCENT                  Case No. 4:22-MD-03047-YGR
       ADDICTION/PERSONAL INJURY
13     PRODUCTS LIABILITY LITIGATION                   MDL No. 3047
14
       This Document Relates to:                      DECLARATION OF JENNIE LEE
15                                                    ANDERSON IN SUPPORT OF PLAINTIFFS’
       K.O. and J.O., individually and as next of     EIGHTH CONSOLIDATED EX PARTE
16     friend to minor D.O. v. Meta Platforms,
       Inc., et al., 4:23-cv-04255                    APPLICATION FOR APPOINTMENT OF
17                                                    GUARDIANS AD LITEM
       K.P., individually and as next of friend to
18     minor S.P. v. Meta Platforms, Inc., et al.,
       4:23-cv-05794
19
       I.T. individually and as next of friend to
20     minor, A.P. v. Meta Platforms, Inc., et al.,
       4:23-cv-03292
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                                                       1             Case No. 4:22-MD-03047-YGR
          Declaration ISO Plaintiffs’ Eighth Ex Parte App. For Appointment of Guardian Ad Litem
     Case 4:22-md-03047-YGR           Document 641-1         Filed 02/23/24      Page 2 of 3



 1           I, Jennie Lee Anderson, do hereby declare and state as follows:

 2           1.         I am a partner with the law firm of Andrus Anderson LLP. I am duly admitted

 3    to practice before the courts of the State of California and in the Northern District of California. I

 4    am the Court-appointed Liaison Counsel for Plaintiffs In re Social Media Adolescent

 5    Addiction/Personal Injury Products Litigation, Case No. 4:33-MD-03047, and a counsel of

 6    record for the Plaintiff in Rodriguez v. Meta Platforms, Inc., et al., Case No. 4:22-cv-00401. I

 7    make this declaration of my own personal knowledge and, if called as a witness, I could and

 8    would testify competently to the matters stated below.

 9           2.         I make this declaration in support of Plaintiffs’ Eighth Consolidated Ex Parte

10    Application for Appointment of Guardians Ad Litem.

11           3.         Attached hereto as Exhibit 1 is a true and correct copy of the Ex Parte

12    Application for Appointment of Guardian Ad Litem I received for the case K.O. and J.O.,

13    individually and as next of friend to minor D.O. v. Meta Platforms, Inc., et al., 4:23-cv-04255.

14           4.         Attached hereto as Exhibit 2 is a true and correct copy of the Ex Parte

15    Application for Appointment of Guardian Ad Litem I received for the case K.P., individually and

16    as next of friend to minor S.P. v. Meta Platforms, Inc., et al., 4:23-cv-05794.

17           5.         Attached hereto as Exhibit 3 is a true and correct copy of the Ex Parte

18    Application for Appointment of Guardian Ad Litem I received for the case I.T. individually and as

19    next of friend to minor, A.P. v. Meta Platforms, Inc., et al., 4:23-cv-03292.

20           6.         Exhibits 1-3 are Applications submitted to Plaintiffs’ Liaison Counsel for filing

21    since the last guardian ad litem submission. I have reviewed the Ex Parte Applications attached

22    as Exhibits 1-3. The Applications have been made by the minor’s parent, and/or legal guardian.

23    Further, the Ex Parte Applications are consistent with Attachment A to this Court’s Order

24    Regarding Appointment of Guardian Ad Litem (ECF No. 122), and include (1) the applicant’s

25    name and contact information (including address, email, and telephone number); (2) the name,

26    case number, state of domicile (and its minimum age of capacity); (3) a statement that the

27    applicant is the parent and/or legal guardian of the minor plaintiff; and (4) a statement affirming

28    that the applicant is fully competent and qualified to understand and protect the rights of the

                                                       2              Case No. 4:22-md-03047-YGR
          Declaration ISO Plaintiff’s Eighth Ex Parte App. For Appointment of Guardian Ad Litem
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 1    minor plaintiff and has no interests adverse to the interests of that person.

 2          I declare under penalty of perjury pursuant to the laws of the United States of America that

 3    the foregoing is true and correct.

 4

 5    Dated: February 23, 2024                       Respectfully submitted,

 6
                                                     /s/Jennie Lee Anderson
 7                                                   Jennie Lee Anderson
 8                                                   ANDRUS ANDERSON LLP
 9                                                   155 Montgomery Street, Suite 900
                                                     San Francisco, CA 94104
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11                                                   jennie@andrusanderson.com

12                                                   Plaintiffs’ Liaison Counsel

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          Declaration ISO Plaintiff’s Eighth Ex Parte App. For Appointment of Guardian Ad Litem
